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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA 


 SHIRLEY J. ANDERSON and ARNOLD                      Case No. 14‐CV‐4832 (PJS/HB)
 R. ANDERSON,

                       Plaintiffs,                               ORDER

 v.

 MEDICARE INSURANCE; NEW RIVER
 MEDICAL CENTER; GUARDIAN
 ANGELS TCU OF ELK RIVER, MN;
 DR. DAVID KRAKER; DR. GREGG
 DYSTE; DR. MARK R. MOUNT; and
 DR. STEVEN LOCKMAN,

                       Defendants.

       Shirley J. Anderson, pro se.

       Friedrich A.P. Siekert, UNITED STATES ATTORNEY’S OFFICE, for defendant
       Medicare Insurance.

       Plaintiff Shirley J. Anderson and her late husband Arnold R. Anderson filed a

lawsuit in Minnesota state court against various doctors and medical facilities, as well

as against “Medicare Insurance.”  ECF No. 1‐1 at 1.  (“Medicare Insurance” is not an

entity that can be sued; the real party in interest is the Secretary of the Department of

Health and Human Services, to which the Court will refer as “the government.”) 

Anderson’s complaint alleges that her husband received substandard medical care from

the defendant doctors and facilities.  The complaint also alleges that “Medicare . . . did

nothing to monitor and hold th[e] doctor[s] accountable” and demands that the
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government “start policing all surgeons, doctors and facilities that are contracted to care

for patients.”  ECF No. 1‐1 at 3‐4.  The complaint seeks $200 million in punitive

damages.  Id. at 4.  After the doctors were dismissed from the suit (because Anderson

did not provide the affidavits of expert review required by Minn. Stat. § 145.682), ECF

Nos. 1‐2, 1‐3, 1‐4, the government removed the case to federal court.

       This matter is before the Court on Anderson’s objection to the May 4, 2015

Report and Recommendation (“R&R”) of Magistrate Judge Hildy Bowbeer.  Judge

Bowbeer recommends that the motion to dismiss the claim against the government be

granted for three independent reasons:  (1) Anderson’s claim is barred by the doctrine

of sovereign immunity, (2) Anderson did not properly serve the government, and

(3) Anderson’s allegations fail to state a claim on which relief can be granted.  The Court

has conducted a de novo review of the R&R.  See 28 U.S.C. § 636(b)(1); Fed. R. Civ.

P. 72(b).

       Anderson’s objection does not address any substantive aspect of Judge

Bowbeer’s analysis.  In particular, Anderson does not attempt to meet her burden to

establish that the government has waived sovereign immunity, see Riley v. United States,

486 F.3d 1030, 1031‐32 (8th Cir. 2007), or her burden to provide evidence that she

properly served the government, see Fed. R. Civ. P. 4(l)(1); Northrup King Co. v. Compania




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Productora Semillas Algodoneras Selectas, S.A., 51 F.3d 1383, 1387 (8th Cir. 1995).1 

Moreover, Anderson does not explain how the facts alleged in her complaint would

give her a right to recover damages from the government.  Stone v. Harry, 364 F.3d 912,

914‐15 (8th Cir. 2004) (“Though pro se complaints are to be construed liberally, they still

must allege sufficient facts to support the claims advanced.”  (citations omitted));

see also Topchian v. JPMorgan Chase Bank, N.A., 760 F.3d 843, 854 (8th Cir. 2014) (district

courts do not have “sweeping duty” to “devise legal theories for pro se plaintiffs”; claim




       1
        Because the case was removed from state court, Anderson had 120 days from
the date of removal (rather than from the filing of the complaint) to properly serve the
government.  See 28 U.S.C. § 1448; Fed. R. Civ. P. 4(m), 81(c)(1); Cardenas v. City of Chi.,
646 F.3d 1001, 1004 (7th Cir. 2011); 4B Charles Alan Wright, Arthur R. Miller, & Adam
N. Steinman, Federal Practice and Procedure § 1137, at 283 (4th ed. 2015).  The case was
removed on November 21, 2014, ECF No. 1; the deadline for Anderson to serve the
government was thus March 23, 2015.  On February 6, 2015, when the government
moved to dismiss for improper service and submitted a declaration stating that it had
not been properly served under Fed. R. Civ. P. 4(i), ECF Nos. 17, 19, 20, Anderson still
had time to effectuate service.  Yet Anderson has not provided any evidence that she
properly served the government.

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must be “discernable”).  The Court will therefore adopt the R&R (with the exception of

one phrase2) and dismiss the claim against the government with prejudice.3

       A procedural matter remains:  The government has provided state‐court filings

showing that many of the other defendants were dismissed before this case was

removed.  ECF Nos. 1‐2, 1‐3, 1‐4.4  But it is not clear from the record (or from the Court’s

search of the Minnesota judiciary’s publicly available online database) whether all of the

defendants other than the government were dismissed in state court.  It appears to the

Court that at least one defendant (New River Medical Center) may not have been

dismissed.  (The government appears to agree that New River Medical Center remains



       2
         The R&R asserts that “the Medicare program is not authorized to oversee the
quality of care provided by physicians and contracted facilities.”  ECF No. 24 at 7
(emphasis added).  This is not accurate, as the government does have some authority to
oversee facilities, including through surveys by state agencies.  See 42 U.S.C. § 1395aa. 
Anderson’s complaint, however, is that “Medicare . . . did nothing to monitor and hold
th[e] doctor[s] accountable.”  ECF No. 1‐1 at 3 (emphasis added).  The federal
government does not have authority to monitor the care given by individual physicians.
       3
        Two of the grounds for dismissal recommended by Judge Bowbeer—sovereign
immunity and improper service—relate to the Court’s jurisdiction and therefore on
their own would result in dismissal without prejudice.  Hart v. United States, 630 F.3d
1085, 1091 (8th Cir. 2011) (sovereign immunity); Smith v. Ghana Commercial Bank, Ltd.,
379 F. App’x 542, 543 (8th Cir. 2010) (per curiam, unpublished) (improper service).  But
the third ground—failure to state a claim—warrants dismissal with prejudice.  Ahmed v.
United States, 147 F.3d 791, 797‐98 (8th Cir. 1998).
       4
       Unlike this Court’s docket, the state‐court docket identifies as additional
defendants the medical practices with which the doctors appear to be affiliated, see ECF
No. 1‐1, but those additional defendants were also dismissed before removal, ECF
Nos. 1‐2, 1‐3, 1‐4.

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in the case, as it includes the facility in the caption of its filings, e.g., ECF Nos. 19, 26,

and asks the Court “to remand any remaining claims against any other defendant back

to Anoka County District Court,” ECF No. 19 at 2.)

       The dismissal of Anderson’s claim against the government therefore does not

end the matter, as Anderson’s claims against at least one other defendant apparently

remain pending.  The Court has discretion to exercise supplemental jurisdiction over

the remaining state‐law claims, dismiss those claims without prejudice, or remand the

case to state court.  See 28 U.S.C. § 1367(c)(3); Carnegie‐Mellon Univ. v. Cohill, 484 U.S.

343, 348‐53 (1988); Lindsey v. Dillard’s, Inc., 306 F.3d 596, 598‐99 (8th Cir. 2002); Green v.

Ameritrade, Inc., 279 F.3d 590, 594‐95 (2002).  Given that this lawsuit is still in its early

stages, the Court will not exercise supplemental jurisdiction over any remaining state‐

law claims.  See Cohill, 484 U.S. at 350; see also Hervey v. Cnty. of Koochiching, 527 F.3d 711,

726‐27 (8th Cir. 2008) (explaining that when federal claims are dismissed leaving only

state claims, “[i]n most cases” supplemental jurisdiction should not be exercised to

“avoid needless decisions of state law” and “as a matter of comity and to promote

justice between the parties” (quoting Ivy v. Kimbrough, 115 F.3d 550, 552‐53 (8th Cir.

1997)).  To save the parties from having to refile their papers in state court and the

Minnesota courts from having to reprocess the case, the Court will remand this matter

to state court.  See Cohill, 484 U.S. at 350‐53.




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                                       ORDER

      Based on all of the files, records, and proceedings herein, the Court OVERRULES

Anderson’s objection [ECF No. 25] and ADOPTS the R&R [ECF No. 24], with the

exception of the phrase “and contracted facilities” appearing on page 7.  IT IS HEREBY

ORDERED THAT:

      1.     The government’s motion to dismiss [ECF No. 17] is GRANTED.

      2.     Anderson’s claim against the government is DISMISSED WITH

             PREJUDICE.

      3.     This matter is REMANDED to the Minnesota District Court, Tenth Judicial

             District.

      LET JUDGMENT BE ENTERED ACCORDINGLY.


 Dated:  July 20, 2015                            s/Patrick J. Schiltz                              
                                            Patrick J. Schiltz
                                            United States District Judge




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